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                          United States District Court
                           FOR THE NORTHERN DISTRICT OF TEXAS
                                     DALLAS DIVISION

UNITED STATES OF AMERICA                        §
                                                §
V.                                              §             CRIMINAL NO. 3: 18-CR-00288-S
                                                §
JUAN CARLOS ANDRADE RIV AS (3)                  §
                                                §

         ORDER ACCEPTING REPORT AND RECOMMENDATION OF THE
      UNITED STATES MAGISTRATE JUDGE CONCERNING PLEA OF GUILTY

         After reviewing all relevant matters of record, including the Notice Regarding Entry of a
Plea of Guilty, the Consent of the Defendant, and the Report and Recommendation Concerning
Plea of Guilty of the United States Magistrate Judge, and no objections thereto having been filed
within 14 days of service in accordance with 28 U.S.C. § 636(6)(1), the undersigned District Judge
is of the opinion that the Report and Recommendation of the Magistrate Judge concerning the Plea
of Guilty is correct-except for a minor typographical error, which the District Judge sua sponte
corrects herein, and it is hereby accepted by the Court. The Report and Recommendation
incorrectly recommend that the defendant be adjudged guilty of "18 U.S.C. § 195l(a) and 2
Interference with Commerce by Conspiracy to Interfere with Commerce by Robbery," instead of
"18 U.S.C. § 195l(a) and 2 Interference with Commerce by Robbery." None of the Superseding
Information, the defendant's plea papers, or the Magistrate Judge's oral findings and
recommendation contained the typographical error in the Report and Recommendation.
Accordingly, the Court accepts the plea of guilty, and JUAN CARLOS ANDRADE RIVAS is
hereby adjudged guilty of 18 U.S.C. § 19Sl(a) and 2 Interference with Commerce by Robbery, and
18 U.S.C. § 924(c)(l)(A)(i) Using and Carrying a Firearm During and in Relation to, and Possessing
a Firearm in Furtherance of, a Crime of Violence. Sentence will be imposed in accordance with
the Cami's Scheduling Order.

181    The Defendant is ordered to remain in custody.

□      The Court adopts the findings of the United States Magistrate Judge by clear and
       convincing evidence that the Defendant is not likely to flee or pose a danger to any other
       person or the community if released and should therefore be released under 18 U.S.C. §
       3142(6) or (c).

□      Upon motion, this matter shall be set for hearing before the United States Magistrate Judge
       who set the conditions of release for determination, by clear and convincing evidence, of
       whether the Defendant is likely to flee or pose a danger to any other person or the
       community if released under§ 3142(6) or (c).
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D     The Defendant is ordered detained pursuant to 18 U.S.C. § 3143(a)(2). The Defendant
      shall self-surrender to the United States Marshal no later than Select Date.

□     The Defendant is not ordered detained pursuant to§ 3143(a)(2) because the Court finds:
      □      There is a substantial likelihood that a motion for acquittal or new trial will be
      granted, or
      □      The Government has recommended that no sentence of imprisonment be imposed,
             and
      □      This matter shall be set for hearing before the United States Magistrate Judge who
             set the conditions of release for determination, by clear and convincing evidence,
             of whether the Defendant is likely to flee or pose a danger to any other person or
             the community ifreleased under§ 3142(6) or (c).

□     This matter shall be set for hearing before the United States Magistrate Judge who set the
      conditions of release for determination of whether it has been clearly shown that there are
      exceptional circumstances under 18 U.S.C. § 3145(c) why the Defendant should not be
      detained under § 3143(a)(2), and whether it has been shown by clear and convincing
      evidence that the Defendant is likely to flee or pose a danger to any other person or the
      community if released under § 3142(6) or (c).


      SO ORDERED.
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      SIGNED   !4er-~ ,      2020:-   !0 )'

                                                   KAREN GREN SCHOLER
                                                   UNITED STATES DISTRICT JUDGE
